Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 1 of 22 PageID: 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

SYMBOLOGY INNOVATIONS, LLC                       §
                                                 §
       Plaintiff,                                §    CIVIL ACTION NO.
                                                 §
       v.                                        §    JURY TRIAL DEMANDED
                                                 §
FEDERAL EXPRESS CORPORATION                      §
                                                 §
                                                 §
       Defendant.                                §


                    COMPLAINT FOR INFRINGEMENT OF PATENT

       COMES NOW, Plaintiff Symbology Innovations, LLC (“Symbology” or Plaintiff),

through the undersigned attorneys, and respectfully alleges, states, and prays as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement under the Patent Laws of the United States,

Title 35 United States Code (“U.S.C.”) to prevent and enjoin defendant Federal Express

Corporation, (hereinafter “Defendant”), from infringing and profiting, in an illegal and

unauthorized manner and without authorization and/or of the consent from Symbology, from U.S.

Patent Nos. 8,424,752 (the “‘752 patent”, attached hereto as Exhibits A); 8,651,369 (the “‘369

patent”, attached hereto as Exhibits B); 8,936,190 (the “‘190 patent”, attached hereto as Exhibits

C); and 7,992,773 (the “‘773 patent”, attached hereto as Exhibits D) (collectively the “Patents-In-

Suit”) pursuant to 35 U.S.C. § 271, and to recover damages, attorney’s fees, and costs.

                                         THE PARTIES

       2.      Plaintiff Symbology is a Texas company with its principal place of business at 1400

Preston Road, Suite 400, Plano, TX 75093.




                                                 1
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 2 of 22 PageID: 2




         3.      Upon information and belief, Defendant is a company organized under the laws of

Delaware, having a principal place of business at 3620 Hacks Cross Road Building B, 3rd Floor

Memphis, Tennessee 38125. Upon information and belief, Defendant may be served with process

at The Corporation Trust Company, Corporation Trust Center 1209 Orange St., Wilmington, DE

19801.



                                  JURISDICTION AND VENUE

         4.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a) because the action arises under the Patent Laws of the United States, 35 U.S.C.

§§ 1 et seq.

         5.      This Court has personal jurisdiction over Defendant by virtue of its systematic and

continuous contacts with this jurisdiction, including having the right to transact business in New

Jersey, as well as because of the injury to Symbology, and the cause of action Symbology has

risen, as alleged herein.

         6.      Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the New Jersey Long Arm Statute, due at least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and (ii)

regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in New Jersey and

in this judicial district.

         7.      Defendant has conducted and does conduct business within the state of New Jersey,

including the geographic region within the District of New Jersey, directly or through

intermediaries, or offers and advertises (including through the use of interactive web pages with



                                                  2
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 3 of 22 PageID: 3




promotional material) products or services, or uses services or products in New Jersey, including

this judicial district, in a manner that infringes the Patents-In-Suit.

        8.      Specifically, Defendant solicits business from and markets its services to

consumers within New Jersey, including the geographic region within the District of New Jersey,

by providing products/services that requires the use of a method for presenting information about

an object on a portable electronic device, as described in the Patents-In-Suit.

        9.      In addition to Defendant’s continuously and systematically conducting business in

New Jersey, the causes of action against Defendant are connected (but not limited) to Defendant’s

purposeful acts committed in the state of New Jersey including Defendant’s use of a method for

presenting information about an object on a portable electronic device, as described in the Patents-

In-Suit.

        10.     Venue lies in this judicial district pursuant to 28 U.S.C. §§1391 and 1400(b).

                                   FACTUAL ALLEGATIONS

                                                  ‘752 patent

        11.     On April 23, 2013, the United States Patent and Trademark Office (“USPTO”) duly

and legally issued the ‘752 patent, titled “System and method for presenting information about an

object on a portable electronic device” after a full and fair examination.

        12.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘752 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘752 patent, including the exclusive right to recover for past

infringement.




                                                   3
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 4 of 22 PageID: 4




       13.      The ‘752 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘752 patent.

       14.      The invention claimed in the ‘752 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.

                                                ‘369 patent

       15.      On February 18, 2014, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘369 patent, titled “System and method for presenting information about

an object on a portable electronic device” after a full and fair examination.

       16.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘369 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘369 patent, including the exclusive right to recover for past

infringement.

       17.      The ‘369 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘369 patent.

       18.      The invention claimed in the ‘369 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.




                                                 4
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 5 of 22 PageID: 5




                                                ‘190 patent

       19.      On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘190 patent, titled “System and method for presenting information about

an object on a portable electronic device” after a full and fair examination.

       20.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘190 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘190 patent, including the exclusive right to recover for past

infringement.

       21.      The ‘190 patent contains three independent claims and seventeen dependent claims.

Defendant uses, inter alia, methods that perform all the steps recited in at least one claim of the

‘190 patent.

       22.      The invention claimed in the ‘190 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.

                                                ‘773 patent

       23.      On August 9, 2011, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘773 patent, titled “System and method for presenting information about

an object on a portable electronic device” after a full and fair examination.

       24.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘773 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘773 patent, including the exclusive right to recover for past

infringement.




                                                 5
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 6 of 22 PageID: 6




       25.        The ‘773 patent contains three independent claims and fifteen dependent claims.

Defendant uses, inter alia, methods that perform all the steps recited in at least one claim of the

‘190 patent.

       26.        The invention claimed in the ‘773 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.



                                           COUNT I
                                INFRINGEMENT OF THE ‘752 PATENT

       27.        Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 26.

       28.        In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘752 patent

       29.        Defendant has had knowledge of infringement of the ‘752 patent at least as of the

service of the present complaint.

       30.        On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 5, of the ‘752 patent by using and/or incorporating Quick

Response Codes (QR codes) in promotional material in a manner covered by one or more claims

of the ‘752 Patent. Defendant has infringed and continues to infringe the ‘752 Patent in violation

of 35 U.S.C. § 271.

       31.        On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in promotional material, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on FedEx

Office promotional material.

                                                   6
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 7 of 22 PageID: 7




       32.    For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with its promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with promotional material,

an example of which is shown below.




       33.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of

a smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.

       34.    On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with an object (for example,

the product or service associated with the QR code). On information and belief the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is sent
                                               7
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 8 of 22 PageID: 8




to a remote server for further processing. Based on the decode string, the remote server sends

information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device.

       35.     For example, if a user scans a QR code associated with Defendant’s promotional

material, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the QR

code. In this example, the information received by the user and displayed on the portable electronic

device is information related to Defendant’s products/services, and includes a website providing

additional information about the product/service as shown below.




       36.     On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).
                                                 8
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 9 of 22 PageID: 9




       37.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘752 patent, pursuant to 35 U.S.C. § 271.

       38.       Defendant has committed these acts of infringement without license or

authorization.

       39.       As a result of Defendant’s infringement of the ‘752 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       40.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                           COUNT II
                                 INFRINGEMENT OF THE ‘369 PATENT

       41.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 40.

       42.         In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘369 patent.

       43.       Defendant has had knowledge of infringement of the ‘369 patent at least as of the

service of the present complaint.

       44.       On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 5, of the ‘369 Patent by using and/or incorporating Quick

Response Codes (QR codes) in promotional material in a manner covered by one or more claims

of the ‘369 Patent. Defendant has infringed and continues to infringe the ‘369 Patent in violation

of 35 U.S.C. § 271.

                                                   9
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 10 of 22 PageID: 10




       45.    On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in promotional material, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on FedEx

Office promotional material.

       46.    For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with its promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with its promotional

material, an example of which is shown below.




       47.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.



                                                10
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 11 of 22 PageID: 11




       48.     On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with an object (for example,

the products or service associated with the QR code). On information and belief the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is sent

to a remote server for further processing. Based on the decode string, the remote server sends

information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device.

       49.     For example, if a user scans a QR code associated with Defendant’s promotional

material, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the QR

code. In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products/services, and includes a website providing

additional information related to the product as shown below.




                                                11
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 12 of 22 PageID: 12




       50.       On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).

       51.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘369 patent, pursuant to 35 U.S.C. § 271.

       52.       Defendant has committed these acts of infringement without license or

authorization.

       53.       As a result of Defendant’s infringement of the ‘369 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       54.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation
                                                  12
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 13 of 22 PageID: 13




for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                           COUNT III
                                 INFRINGEMENT OF THE ‘190 PATENT


       55.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 54.

       56.         In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘190 patent.

       57.     Defendant has had knowledge of infringement of the ‘190 patent at least as of the

service of the present complaint.

       58.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 5, of the ‘190 Patent by using and/or incorporating Quick

Response Codes (QR codes) in promotional material in a manner covered by one or more claims

of the ‘190 Patent. Defendant has infringed and continues to infringe the ‘190 Patent in violation

of 35 U.S.C. § 271.

       59.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in promotional material, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on FedEx

Office promotional material.

       60.     For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with its promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with its promotional

material, an example of which is shown below.



                                                   13
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 14 of 22 PageID: 14




       61.     On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.

       62.     On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with an object (for example,

the products or service associated with the QR code). On information and belief the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is sent

to a remote server for further processing. Based on the decode string, the remote server sends

information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device.



                                               14
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 15 of 22 PageID: 15




       63.     For example, if a user scans a QR code associated with Defendant’s promotional

material, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the QR

code. In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products, and includes a website providing additional

information related to the product as shown below.




       64.     On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).

       65.     By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘190 patent, pursuant to 35 U.S.C. § 271.



                                                15
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 16 of 22 PageID: 16




       66.       Defendant has committed these acts of infringement without license or

authorization.

       67.       As a result of Defendant’s infringement of the ‘190 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       68.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                         COUNT IV
                               INFRINGEMENT OF THE ‘773 PATENT


       69.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 68.

       70.         In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘773 patent.

       71.       Defendant has had knowledge of infringement of the ‘773 patent at least as of the

service of the present complaint.

       72.       On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 4, of the ‘773 Patent by using and/or incorporating Quick

Response Codes (QR codes) in promotional material in a manner covered by one or more claims

of the ‘773 Patent. Defendant has infringed and continues to infringe the ‘773 Patent in violation

of 35 U.S.C. § 271.




                                                   16
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 17 of 22 PageID: 17




       73.    On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in its promotional material, associating such QR codes with products

and/or services. One specific example of Defendant’s activity involves the use of QR codes on

FedEx Office promotional material.

       74.    For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with its promotional material. On information and

belief, Defendant has captured a digital image of a QR code associated with its promotional

material, an example of which is shown below.




       75.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and promotional material.



                                                17
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 18 of 22 PageID: 18




        76.    On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with an object (for example,

the products or service associated with the QR code). On information and belief the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is then

sent to a visual detection application residing on a portable electronic device (i.e., camera residing

in the smart phone) for processing. On information and belief the portable electronic device then

receives from the visual detection application a first amount of information about the object (e.g.,

URL corresponding to website associated with Defendant’s products or services). After the first

amount of information is received, the decode string is sent to a remote server for processing and

a second amount of information (e.g., website and content related to Defendant’s products or

services) about the object is received by the portable electronic device. On information and belief

the first and second amounts of information are then combined to obtain cumulative information

(e.g., a display of both the URL and the corresponding website related to Defendant’s products or

services) to be displayed in the portable electronic device (e.g., on the display of the smart phone

or tablet).

        77.    For example, the cumulative information received by the user and displayed on the

portable electronic device includes the URL and the corresponding website related to the

Defendant’s products/services, as shown below.




                                                 18
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 19 of 22 PageID: 19




       78.     Furthermore, an on information and belief, the portable electronic device utilized

by Defendant, at least during internal use and testing, allows for a visual detection system (e.g. the

camera functionality in combination with the QR Code Scanning application) to run in the

background with respect to other systems associated with the mobile device (e.g. the QR Code

scanning application and its corresponding camera functionality can run in the background in

standby), the visual detection systems comprising one or more visual detection applications (e.g.

QR code scanning applications) and one or more visual detection devices (e.g. the camera

integrated on the smartphone), the one or more visual detection devices configured to detect the

symbology associated with the object (e.g. the camera on the smartphone is configured to detect

and decode QR codes via the QR code scanning application). As shown below, the visual detection

systems can run in the background with respect to other systems associated with the portable

electronic device.



                                                 19
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 20 of 22 PageID: 20




       79.       On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).

       80.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘773 patent, pursuant to 35 U.S.C. § 271.

       81.       Defendant has committed these acts of infringement without license or

authorization.

       82.       As a result of Defendant’s infringement of the ‘773 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.




                                                  20
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 21 of 22 PageID: 21




          83.   Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                     DEMAND FOR JURY TRIAL

   84. Symbology demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

          WHEREFORE, Symbology prays for the following relief:

          a.    That Defendant be adjudged to have directly infringed the Patents-In-Suit either

literally or under the doctrine of equivalents;

          b.    That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the ‘Patents-In-Suit;

          c.    An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Symbology for the Defendant’s past infringement and any continuing or future infringement up

until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;

          d.    An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

          e.    That Defendant be directed to pay enhanced damages, including Symbology’s

attorneys’ fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

          f.    That Symbology have such other and further relief as this Court may deem just and

proper.



                                                  21
Case 2:17-cv-02078-CCC-JBC Document 1 Filed 03/30/17 Page 22 of 22 PageID: 22




 Dated: March 30, 2017               Respectfully Submitted,

                                     By:/s/Jean-Marc Zimmerman
                                     Jean-Marc Zimmerman
                                     Zimmerman Law Group
                                     233 Watchung Fork
                                     Westfield, NJ 07090
                                     Tel: (908) 768-6408
                                     Fax: (908) 768-6408
                                     Email: jmz@zimllp.com

                                     Eugenio J. Torres-Oyola (Pro Hac Pending)
                                     Ferraiuoli LLC
                                     221 Plaza, 5th Floor
                                     221 Ponce de León Avenue
                                     San Juan, PR 00917
                                     Telephone: (787) 766-7000
                                     Facsimile: (787) 766-7001
                                     Email: etorres@ferraiuoli.com

                                     Jean G. Vidal Font (Pro Hac Pending)
                                     Ferraiuoli LLC
                                     221 Plaza, 5th Floor
                                     221 Ponce de León Avenue
                                     San Juan, PR 00917
                                     Telephone: (787) 766-7000
                                     Facsimile: (787) 766-7001
                                     Email: jvidal@ferraiuoli.com

                                     ATTORNEYS FOR PLAINTIFF
                                     SYMBOLOGY INNOVATIONS, LLC




                                     22
